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MONTGOMERY COUNTY SHERIFF’S OFFICE
Sheriff Sean P. Kilkenny
Montgomery County Court House
P.O. Box 311
Norristown, PA 19404-0311
Phone: 610-278-3331 Fax: 610-278-3832 http://sheriff.montcopa.org

 

Attorney’s or Plaintiff's Name and Address: Date: 12/7/2021

Law Offices of Daniel W. Isaacs, PLLC Prothonotary No: 21-C\V-04424-DG-
122 Cross River Road RLM

Mount Kisco, NY 10549 Sheriff's No: 21009818

Phone: 646-438-9100
RETURN OF SERVICE

Civil Action (Out of State): Summons
United States District Court for the Eastern District of New York

PLAINTIFF
Aaron Ross

Vs.

DEFENDANT
Universal Health Services. Inc.

 

SHERIFF’S RETURN

SERVED FOR: Universal Health Services, Inc.
SERVED: Nick Nolfi
SERVICE TYPE: Person In Charge

PLACE OF SERVICE: 367 South Gulf Road * King of Prussia, PA 19406
DATE OF SERVICE: 12/7/2021

TIME OF SERVICE: 8:20AM

DEPUTY Adam LaChapelle

 

NOTES
